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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 21-21961-CIV-ALTONAGA/Torres

  ALAN DERSHOWITZ,

          Plaintiff,
  v.

  NETFLIX, INC.; et al.,

        Defendants.
  ______________________________/
                                               ORDER

          THIS CAUSE came before the Court on Plaintiff, Alan Dershowitz’s Expedited Motion

  for Leave to Attend Mediation Remotely [ECF No. 87], filed on March 10, 2022. Defendants filed

  a Response [ECF No. 89] the following day, objecting to the relief Plaintiff seeks.

          Plaintiff states he has suffered “multiple serious health emergencies[,]” which have

  required an invasive surgery and subsequent period of hospitalization. (Mot. 1 (alteration added)).

  His doctors recommend that he avoid traveling long distances to ensure that he does not

  compromise his recovery. (See id.). Plaintiff has diligently followed this recommendation,

  missing several important family milestones and other scheduled obligations in the process. (See

  id. 1–2).

          “The District Court has broad discretion to stay proceedings as an incident to its power to

  control its own docket.” Clinton v. Jones, 520 U.S. 681, 706 (1997) (citation omitted); see also

  Johnson v. Bd. of Regents of Univ. of Ga., 263 F.3d 1234, 1269 (11th Cir. 2001) (“[W]e accord

  district courts broad discretion over the management of pre-trial activities, including discovery and

  scheduling.” (alteration added; citations omitted)). Plaintiff chose this venue, but now it appears

  his health prevents him from traveling here to participate in mediation. (See Mot. 1). With an

  August trial date looming, the Court is concerned that Plaintiff’s health might result in further
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  delays. Rather than risk further complications, the Court concludes a stay is warranted until

  Plaintiff is cleared to travel. The Court will not deprive Plaintiff of the benefits of his chosen

  venue, including significant and required pre-trial events such as the in-person mediation, and

  thereafter, trial.

          Accordingly, it is

          ORDERED that the Clerk of the Court is DIRECTED to mark this case CLOSED for

  statistical purposes only.    All motions are denied as moot.             The Court nonetheless retains

  jurisdiction, and the case shall be restored to the active docket upon court order following motion

  of a party, which motion must include a revised joint scheduling report to govern the remainder of

  the case. Either party may move to reopen the case once Plaintiff advises his health has improved

  and offers firm dates for an in-person mediation.

          The parties shall continue to engage in discovery during this time; they are cautioned not

  to move to reopen the case until they are ready to proceed with in-person mediation and trial. This

  Order shall not prejudice the rights of the parties to this litigation.

          DONE AND ORDERED in Miami, Florida, this 11th day of March, 2022.



                                                  ________________________________________
                                                  CECILIA M. ALTONAGA
                                                  CHIEF UNITED STATES DISTRICT JUDGE

  cc:     counsel of record




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